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 7

 8                                  UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA                           No. CR-17-0533 EMC

12                                   Plaintiff,         [PROPOSED] ORDER MODIFYING
                                                        RELEASE CONDITIONS
13                  v.

14   RUSSELL TAYLOR OTT,

15                                   Defendant.
                                                    /
16

17
            Good causing appearing therefore, following a hearing conducted on July 9, 2018,
18
            IT IS HEREBY ORDERED that the conditions of release for defendant Russell Taylor
19
     Ott are modified such that Mr. Ott is allowed to reside at the residence at 121 Lark Center Drive
20
     in Santa Rosa, California, rather than the GEO Care Residential Reentry Center (GEO Care
21
     Center) at 111 Taylor Street in San Francisco. In addition, Ms. Susan Madieros shall act as Mr.
22
     Ott’s third party custodian.
23
            All other conditions of Mr. Ott’s release are to remain in effect.
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26
     Dated: July 9, 2018
27                                                SALLIE KIM
                                                  United States Magistrate Judge
28

     [PROPOSED] ORDER RE MODIFICATION
     OF RELEASE CONDITIONS
